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                                                                                  ELECTRONICALLY
                                                                                      FILED
                                                                                 Superior Court of California,
                                                                                  County of San Francisco

                                                                                 10/12/2018
                                                                                  Clerk of the Court
                                                                                    BY:EDWARD SANTOS
     JAMES A. QUAD RA, State Bar No. 131084
                                                                                                 Deputy Clerk
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 6   Fillmore Development Commercial, LLC and
     Em Johnson Interest, Inc.
 7

 8

 9                     SUPERIOR COURT OF THE STATE OF CALIFORNIA

10                                 COUNTY OF SAN FRANCISCO

11
     CITY AND COUNTY OF SAN                            Case No.: CGC-18-568954
12   FRANCISCO,
                                                       CROSS-COMPLAINT BY FILLMORE
13                Plaintiff,                           COMMERCIAL, LLC AND EM
                                                       JOHNSON INTEREST, INC. AGAINST
14                v.                                   CROSS-DEFENDANT CITY AND
                                                       COUNTY OF SAN FRANCISCO
15   MICHAELE. JOHNSON; FILLMORE
     DEVELOPMENT COMMERCIAL, LLC; EM
16   JOHNSON INTEREST, INC.; URBAN CORE
     DEVELOPMENT, LLC; and DOES 1-10,
17   inclusive;
18                Defendants.
19
     FILLMORE DEVELOPMENT
20   COMMERCIAL, LLC; EM JOHNSON
     INTEREST, INC.;
21
                  Cross-Complainants,
22
                  V.
23
     CITY AND COUNTY OF SAN
24   FRANCISCO, ROES 1-50, inclusive,
25                Cross-Defendants.
26

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28
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            Cross-Complainants Fillmore Development Commercial, LLC and Em Johnson Interest,

 2   Inc. allege as follows:

 3                                            THE PARTIES

 4           1.     Cross-Complainant Fillmore Development Commercial, LLC ("FDC") is a

 5   limited liability company formed and duly organized under the laws of the State of California.

 6          2.      Cross-Complainant Em Johnson, Interest, Inc. ("EJI") is a corporation fonned and

 7   duly organized under the laws of the State of California, and the managing member ofFDC.

 8          3.      Cross-Defendant City and County of San Francisco ("City") is a municipal

 9   corporation organized and existing under and by virtue of the laws of the State of California.

10   Since this Cross-Complaint arises out of the allegations of the Complaint, FDC and EJI are not

11   required to file a government claim under Government Code §§900 et seq. (People ex rel. Dep't

12   o_/Parks & Recreation v. W.-A-Rama, Inc. (l 973) 35 Cal. App. 3d 786, 794 (1973))

13          4.      FDC and EJI are ignorant of the true names and capacities of Cross-Defendants

14   sued herein as ROES 1 through 50 and therefore sues such Cross-Defendants by fictitious names.

15   FDC and EJI will amend this Cross-Complaint to allege the true names and capacities of ROES 1

16   through 50 when ascertained. FDC and EJI are informed and believe that each of said Cross-

17   Defendants designated herein is legally responsible and liable in the same manner for the events

18   and happenings described herein and for the causes of action alleged herein, and are therefore

19   liable and responsible to FDC and/or EJI for an amount be determined or for such other relief as

20   may be afforded.

21          5.      FDC and EJI are informed and believe that each Cross-Defendant specifically or

22   fictitiously named herein acted in his, her or its own right and is the agent, employee,

23   representative or co-conspirator of some or all of the other Cross-Defendants, as to each of the

24   matters set forth herein. Each such Cross-Defendant, whether specifically or fictitiously named,

25   was at all times acting within the scope and purpose of such agency, employment, representation

26   or conspiracy, or alternatively, if the acts of each such Cross-Defendant were not authorized at

27   the time, such acts were subsequently ratified by the appropriate principal and Cross-Defendants.

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                                              INTRODUCTION

 2          6.      As alleged below, the City engaged in bad faith conduct against FDC, EJI and

 3   Defendant Michael Johnson ("Johnson") regarding the development of the Fillmore Heritage

 4   Center Project (the "Project") as a jazz entertainment venue and restaurant, which is only the

 5   latest of the City's misguided attempts over the past several decades to redevelop the Fillmore

 6   District in San Francisco. The City persisted in attempting to operate the Project as a jazz club

 7   and restaurant, even when it became readily apparent that this use was not economically viable.

 8   After the failure of two jazz clubs, including the renowned Yoshi's, the City refused to allow

 9   FDC to attract investors willing to use the property for a different commercial purpose that

10   would generate enough revenue to ensure the Project's economic success. As a result, the City

11   breached its obligation under a lease with FDC to permit a different use. Furthermore, the City

12   acted in bad faith by failing to honor its promise documented in a written term sheet executed by

13   the City and FDC to negotiate and finalize restructuring of a ground lease and loans related to the

14   Project, which included an agreement that FDC would transfer its interest under the lease to the

15   City in exchange for a full release of any claims by the City. In short, rather than focus limited

16   public resources to successfully revitalize the Fillmore District and assist the economic and

17   cultural well-being of District residents, the City has engaged in bad-faith tactics while the

18   Project has remained vacant for years.

19                                      FACTUAL ALLEGATION

20          7.      The Redevelopment Agency of the City and County of San Francisco (the

21   "Agency"), a political subdivision of the City, entered into a written Disposition and

22   Development Agreement ("DDA"), dated May 18, 2004, with Fillmore Development Associates,

23   LLC ("FDA"), an entity related to FDC. Under the DDA, FDA developed certain real property

24   owned by the Agency and commonly known as 1300-1330 Fillmore Street in the Fillmore

25   District of San Francisco (the "Property"). FDA secured over $50 million in private financing to

26   develop and construct a mixed-use commercial and residential project on the Property, known as

27   the Fillmore Heritage Center Project (the "Project"). Consistent with the City's redevelopment

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     plan, the Project's goal was to help revitalize the economy of the historic Fillmore Jazz

 2   Preservation District, while preserving and celebrating the District's jazz history. In 2007, FDA

 3   completed construction of the Project, which consists of approximately 40,000 square feet of

 4   commercial space, approximately 80 condominiums and a public parking garage.

 5          8.      Pursuant to a Ground Lease Agreement dated as of August 23, 2005 ("Lease"),

 6   between the Agency and FDC, FDC leased the commercial portion of the Property

 7   ("Commercial Parcel") from the Agency. A true and correct copy of the Lease is attached as

 8   Exhibit A and incorporated herein by reference.

 9          9.      In order to develop and construct the Commercial Parcel, FDC obtained financing

10   in the amount of $5.5 million ("Loan") from the City through the Mayor's Office of Community

11   Development ("MOCD"). The Loan was evidenced by a written Loan Agreement, a copy of

12   which is attached as Exhibit A to the Complaint, and a Promissory Note ("Note"), a copy of

13   which is attached as Exhibit B to the Complaint. The FDC's obligations under the Note were

14   secured by assets of FDC, including its leasehold interest in the Commercial Parcel under the

15   Lease. EJI guaranteed the Loan pursuant to a written Guaranty, a copy of which is attached as

16   Exhibit C to the Complaint.

17          10.     At the time FDC entered into the Lease and Loan Agreement, London Breed

18   ("Breed") was a Commissioner of the Agency. Breed has been involved in the City's bad faith

19   misconduct towards FDC regarding the Lease and Property, and the City's dealings with FDC

20   from the inception of the Project through the present as alleged herein, whether as an Agency

21   Commissioner, the former Supervisor of District 5 where the Property is located, or the current

22   Mayor of the City. Other City representatives involved in the bad faith wrongdoing include

23   Naomi Kelly, the City's current Administrator, and Steve Cawa, the former Chief of Staff of

24   former Mayor Ed Lee.

25          11.     Under Section 18.1 of the Lease, the Agency and FDC agreed that a jazz club and

26   restaurant would be a pennitted of use the Commercial Parcel, but further agreed:

27          [i]f the Jazz Club and the Restaurant open and have operated for at least twelve
            (12) months, but then fail and the Tenant [FDC] demonstrates that it has used all
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            reasonable efforts to obtain a substitute entertainment and/or restaurant subtenant
            for at least six (6) months, then Tenant may use the Premises for any general
            retail and/or commercial use which use enhances the jazz district theme, or if
 2          such uses do not enhance the jazz district theme then they are not in conflict
            with the jazz district theme and address other redevelopment goals and
 3          purposes, including meeting community benefit objectives such as
            community economic development goals, and are approved by the Agency
 4          which approval shall not be unreasonably withheld.
 5   (emphasis added).

 6          12.     As provided by Section 18.1 of the Lease, FDC obtained the agreement of

 7   Yoshi's, a well-known jazz club and restaurant in Oakland, to open and operate a venue in the

 8   Commercial Parcel, which the City understood was crucial to the Project's success as the anchor

 9   tenant and which furthered the City's redevelopment plan to revitalize the Fillmore Jazz

10   Preservation District. Yoshi San Francisco, LLC ("Yoshi's SF") opened its jazz club and

11   restaurant in December 2007 in a portion of the Commercial Parcel.

12           13.    While other commercial tenants occupied the Project, including Food for Soul

13   which operated a restaurant known as "1300 on Fillmore" and the non-profit Jazz Heritage

14   Center, Yoshi's SF was the anchor tenant so, as known to the City, the success of Yoshi's SF

15   was crucial to the Project's viability and to FDC's ability to pay the Loan. Yoshi's SF suffered

16   net losses exceeding $350,000 each year during the six years it was open, despite generating an

17   average of $10 million in annual revenue. The revenue generated by the subtenants of the

18   Commercial Parcel was never sufficient to cover FDC's operating expenses, including payment

19   of the Loan. From the date of the Lease and Loan Agreement, the use of the Commercial Parcel

20   as a jazz club and restaurant, and the other theme restaurants and ventures, failed to generate

21   sufficient revenue for FDC to meet all its obligations under the Loan, an economic reality that

22   FDC repeatedly told representatives of the Agency and MOCD, but which the City never

23   accepted. Instead, the City continued to insist that the Commercial Parcel had to have a jazz

24   entertainment venue consistent with the City's misguided redevelopment vision for the Fillmore

25   Jazz Preservation District.

26           14.    In 2010, FDC and the City renegotiated the terms of the Loan Agreement and

27   Note in an attempt to address FDC's difficulty making timely payments under the Note as a

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     result of the issues with the economic viability of the Commercial Parcel. As a result, the parties

 2   entered into the First Amendment to Loan Agreement and Promissory Note ("Loan

 3   Amendment"), dated December 8, 2010, a copy of which is attached as Exhibit D to the

 4   Complaint. Under the Loan Amendment, the parties agreed to a payment plan for FDC to pay

 5   the delinquent amount due under the Note while continuing to make future payments as they

 6   became due under the Note.

 7          15.     The Project continued to suffer economic difficulties after the Loan Amendment

 8   because the rent from Yoshi's SF and Food for Soul remained inadequate to service the Loan and

 9   cover the full operating expenses, even as adjusted by the Loan Amendment. In or about

10   November 2012, the managing member ofYoshi's SF filed bankruptcy on behalf ofYoshi's SF

11   under Chapter 11 of the United States Bankruptcy Code without the consent ofFDC or the other

12   members of Yoshi's SF. Yoshi's SF did not reorganize in bankruptcy and ceased operating the

13   jazz club and restaurant, although a successfully reorganized Yoshi's SF would have improved

14   the economic viability of the Project. The City did not make any effort to assist Yoshi's SF

15   during its attempt to reorganize in bankruptcy or, following the bankruptcy, cooperate with FDC

16   in a further re-structuring of the Loan which was required if a jazz club and restaurant operations

17   were to continue in the Commercial Parcel as the City demanded.

18          16.     In February 2012, the Agency was succeeded by the San Francisco Office of

19   Community Investment and Infrastructure ("OCH").

20          17.     In connection with the bankruptcy of Yoshi's SF, the OCH and the Mayor's

21   Office of Housing and Community Development ("MOHCD"), agreed to a written term sheet,

22   dated March 3, 2014 ("Term Sheet"), with FDC and affiliated entities. Under the Term Sheet, the

23   parties agreed to negotiate in good faith the restructuring of the Loan and Lease. A true and

24   correct copy of the Term Sheet is attached as Exhibit Band incorporated herein by reference.

25   Among the terms, the City agreed to accept a "deed in lieu" of FDC' s interest in the Lease in

26   exchange for forgiveness of the amounts owed the City. Although required under the Term

27   Sheet, the City failed to negotiate the restructuring of the Loan and Lease in good faith.

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             18.     With the approval of the bankruptcy court on or about June 24, 2014, Yoshi's SF

 2   and its creditors agreed to restructure its debt and assign certain liabilities and its sublease of the

 3   jazz club/restaurant to Fillmore Live Entertainment Group, LLC ("FLEG"), a new entity that was

 4   formed as provided by the Term Sheet by several investors, including Johnson. The investors

 5   contributed over $1.0 million to establish FLEG in an attempt to preserve over 100 existing jobs

 6   by reopening a new jazz club and restaurant in the Commercial Parcel called "The Addition" on

 7   or about July 1, 2014. FLEG was formed in part because the City continued to insist that the

 8   Commercial Parcel be used as a jazz entertainment venue.

 9           19.     In January 2015, FLEG was forced to close The Addition due to operating losses.

10   Like Yoshi's SF, The Addition could not generate sufficient revenue to pay operating expenses

11   such rent and loans it assumed from Yoshi's SF. Eight years after Yoshi's SF opened, the City

12   still refused to recognize that a jazz club and restaurant could not be the anchor tenant.

13           20.     In a letter dated February 20, 2015, the MOHCD notified FDC that it was in

14   default under the Loan Agreement and Note, and demanded payment of over $2.0 million by

15   March 2, 2015. In a second letter dated February 20, 2015, OCII notified FDC that it was in

16   default under the Lease, including Section 18.1 of the Lease because FDC had purportedly

17   abandoned a portion of the Commercial Parcel which had to be continuously operated for the

18   permitted use of a jazz club.

19          21.      FDC advised the OCII and MOHCD that FDC was taking steps to address the

20   default by entering into negotiations with a group of investors to recapitalize or restructure FDC

21   and to obtain a new anchor tenant for the Commercial Parcel to operate a music entertainment

22   venue and restaurant. In a letter, dated March 13, 2015, to Tiffany Bohee of OCII and Olson Lee

23   ofMOHCD, FDC memorialized these efforts, which included meetings with then Supervisor

24   Breed among others. OCII and MOHCD did not respond to FDC's March 13 letter.

25           22.     FDC sent a letter of intent, dated April 10, 2015, to OCH and MOHCD to

26   memorialize discussions between FDC and the City that included refinancing the Loan, paying

27   back taxes and amounts due under the Lease, and securing a financially viable anchor tenant for

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     the Project. FDC provided to the City letters of intent from two possible tenants which included

 2   one proposing to invest in FDC. The OCH and MOHCD never responded to FDC's April 10,

 3   2015 letter.

 4             23.   In a letter dated May 31, 2015 to OCH and MOHCD, FDC summarized its efforts

 5   to locate a new anchor tenant, which included discussing the opportunity with over ten potential

 6   tenants and/or investors. The May 31 letter outlined issues with attracting new tenants in the

 7   entertainment business, including the prohibitively high rent required to service the Loan and

 8   concern about OCH requiring payment of the loan for tenant improvements. Nonetheless, the

 9   May 31 letter included four potential tenants and/or investors, including potential tenants in the

10   restaurant business and other retail uses allowed under the Lease.

11             24.   The City responded in a letter dated June 5, 2015 from the OCH to FDC, in which

12   the City terminated the Lease and FDC's right to possession of the Property.

13             25.   In a letter dated June 22, 2015, FDC's counsel advised the OCII that it had

14   obtained a letter of intent from a national grocery store chain, later identified to the City as

15   Whole Foods, which offered a refinancing opportunity to cure the default under the Lease and

16   the Loan, and generate a substantial amount of capital that could be reinvested by the City into

17   the neighborhood. Under the FDC's proposal, which was supported by several community

18   leaders, the Commercial Parcel would have included a brew pub/live music venue, as well as

19   jazz at the club at 1300 Fillmore Street. FDC's proposal also included refinancing to buy-out the

20   Lease.

21             26.   The OCII responded to the June 22 letter with a letter dated July 21, 2015, in

22   which the City refused to cooperate with FDC' s efforts to restructure the Loan and attract a new

23   tenant.

24             27.   In a letter dated July 6, 2015 to the City, FDC advising that FDC had a draft letter

25   of intent from Whole Foods to operate a grocery store, restaurant and brew pub with live

26   perfonnances. The July 6 letter identified other potential investors interested in restructuring the

27

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     Loan. In the July 6 letter, FDC requested that the City reinstate the Ground Lease for a period of

 2   90 days in order to facilitate a new investment. The City did not respond.

 3           28.     In August 2015, the City issued a public statement with responses to "frequently

 4   asked questions" that continued to insist that the Commercial Parcel would be used as an

 5   entertainment venue, despite the economic reality that this use did not generate enough revenue

 6   to service the Loan and other expenses.

 7           29.     The MOHCD sent a notice of default, dated October 21, 2015, to FDC demanding

 8   that EJI pay all sums due under the Guaranty. This demand was contrary to the City's

 9   representation that the City would not seek to enforce the Guaranty if FDC and EJI cooperated

10   with the City's taking possession of the Commercial Parcel. Despite the October 2015 demand,

11   the City then went silent, leading FDC to believe the City would honor it representations that it

12   would not enforce the Note and Guaranty. However, while FDC cooperated so the City took

13   possession of the Commercial Parcel, the City filed this action three years later (with no interim

14   communication) in an attempt to enforce the Note against FDC and the Guaranty against EJI, as

15   well as attempt to improperly hold Johnson and Defendant Urban Core Development LLC liable

16   as alleged alter egos of FDC without factual or legal bases.

17                                      FIRST CAUSE OF ACTION
                                             Breach of Lease
18
             30.     Cross-Complainants incorporate by reference the allegations of all preceding
19
     paragraphs as if fully set forth here.
20
             31.     FDC fully performed all of its obligations under the Lease to the extent those
21
     obligations were not excused by impossibility, frustration of purpose, and/or the City's failure to
22
     allow FDC to sublet the Commercial Parcel to subtenants with the ability to generate sufficient
23
     revenue as allowed by Section 18.1 of the Lease.
24
             32.     The City breached the Lease, in part by refusing to allow FDC to sublet the
25
     Commercial Parcel for general retail and/or commercial use that enhanced or did not conflict
26
     with the jazz district theme, as provided by Section 18.1
27

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             33.     As the result of the City's breach of the Lease, FDC has been damaged in an

 2   amount to be proven at trial.

 3                                  SECOND CAUSE OF ACTION
                             Breach of Loan Agreement and Promissory Note
 4
             34.     Cross-Complainants incorporate by reference the allegations of all preceding
 5
     paragraphs as if fully set forth here.
 6
             35.     FDC fully performed all of its obligations under the Loan Agreement and
 7
     Promissory Note to the extent those obligations were not excused by impossibility, frustration of
 8
     purpose, and/or the City's breach of the implied covenant of good faith and fair dealing.
 9
             36.     The City breached the implied covenant of good faith and fair dealing in the Loan
10
     Agreement and Promissory Note, in part by refusing to act in good faith to negotiate the terms
11
     outlined in the Term Sheet.
12
             37.     As the result of the City's breach of the Loan Agreement and Promissory Note,
13
     FDC has been damaged in an amount to be proven at trial.
14
                                        THIRD CAUSE OF ACTION
15                                         Breach of Guaranty
16           38.     Cross-Complainants incorporate by reference the allegations of all preceding

17   paragraphs as if fully set forth here.

18           39.     EJI fully performed all of its obligations under the Guaranty to the extent those

19   obligations were not excused by impossibility, frustration of purpose, and/or the City's breach of

20   the implied covenant of good faith and fair dealing.

21           40.     The City breached the implied covenant of good faith and fair dealing in the

22   Guaranty, in part by refusing to act in good faith to negotiate and perform the terms outlined in

23   the Term Sheet.

24           41.     As the result of the City's breach of the Loan Agreement and Promissory Note,

25   EJI has been damaged in an amount to be proven at trial.

26                                                PRAYER

27           Cross-Complainants pray as follows:

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           1.    For compensatory damages in an amount to be proven at trial;

 2         2.    For reasonable attorney fees and costs; and

 3         3.    For such other and further relief as the Court deems just.

 4   DATED: October 12, 2018                     QUADRA & COLL, LLP
 5

 6

 7
                                                       ROBERT D. SANFORD
 8
                                                       Attorneys for Michael E. Johnson; Fillmore
 9                                                     Development Commercial, LLC; Em Johnson
                                                       Interest, Inc.; Urban Core Development, LLC
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                                            PROOF OF SERVICE

     I, Rebecca Coll, declare as follows:
 2
            I am a citizen of the United States, over the age of eighteen years and not a party to the
 3
     within entitled action. I am a partner at Quadra & Coll, 649 Mission Street, Fifth Floor, San
     Francisco, CA 94105.
 4
            On October 12, 2018, I served the attached:
 5
            CROSS-COMPLAINT BY FILLMORE COMMERCIAL, LLC AND EM
 6
            JOHNSON INTEREST, INC. AGAINST CROSS-DEFENDANT CITY AND
            COUNTY OF SAN FRANCISCO
 7
     on the interested party listed below as follows:
 8

 9          DENNIS J. HERRERA
            CHERYL ADAMS
10          THOMASLAKRITZ
            Fox Plaza
11          1390 Market Street, Sixth Floor
            San Francisco, CA 94102
12
            Tom.Lakritz@sfcityatty.org
13
     By the following method:
14
     LJ     BY ELECTRONIC MAIL: The parties to this action have agreed in writing that
15          service of papers in this case may be accomplished via electronic mail, and that such
            service shall constitute service by hand. Per that agreement, I sent the foregoing
16          document(s) as PDF files to the foregoing email addresses prior to 5:00 p.m. on today's
            date.
17
            BY ELECTRONIC SERVICE: I hereby certify that I electronically served the
18          documents(s) listed above by using the One Legal system.

19          I declare under penalty of perjury under the laws of the State of California that the
     foregoing is true and correct.
20
      DATED: October 12, 2018
21

22                                              By:
23                                                      Rebecca Coll

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